 Appeal by the defendant from an amended judgment of the County Court, Orange County (Freehill, J.), rendered June 10, 2016, revoking a sentence of probation previously imposed by the same court, upon a finding that he violated the conditions thereof, upon his admission, and imposing a sentence of imprisonment upon his previous conviction of operating a motor vehicle under the influence of alcohol as a felony. Ordered that the amended judgment is affirmed. The defendant’s valid waiver of his right to appeal precludes review of his contention that the sentence imposed upon his violation of probation was excessive (see People v Sanders, 25 NY3d 337, 341-342 [2015]; People v Lopez, 6 NY3d 248, 256-257 [2006]; People v Burton, 69 AD3d 644 [2010]). Eng, P.J., Sgroi, Hall, Maltese and Connolly, JJ., concur. 